

People v Coffee (2019 NY Slip Op 06976)





People v Coffee


2019 NY Slip Op 06976


Decided on September 27, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 27, 2019

PRESENT: CENTRA, J.P., PERADOTTO, CARNI, NEMOYER, AND CURRAN, JJ. (Filed Sept. 27, 2019.) 


MOTION NO. (758/17) KA 14-01239.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vSHAWN J. COFFEE, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








